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  Exhibit A – First
 Amended Complaint
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 1   PAOLA ARMENI
     Nevada Bar No. 8537
 2   Email: parmeni@clarkhill.com
     JEREMY J. THOMPSON
 3   Nevada Bar No. 12503
     Email: jthompson@clarkhill.com
 4   CLARK HILL PLLC
     3800 Howard Hughes Parkway, Suite 500
 5   Las Vegas, Nevada 89169
     Telephone: (702) 862-8300
 6   Facsimile: (702)862-8400
     Attorneys for Plaintiffs, Morgan Family
 7
                            EIGHTH JUDICIAL DISTRICT COURT
 8
                                  CLARK COUNTY, NEVADA
 9
     BONNIE LOPEZ, individually as sister and           CASE NO.: A-20-814296-C
10   Special Administrator for the Estate of
     MELODY MORGAN, deceased; COLLEEN                   DEPT NO.: 1
11   LACKEY, individually as mother of MELODY
     MORGAN, deceased,
12
                                  Plaintiffs,           FIRST AMENDED COMPLAINT
13
     vs.                                                JURY TRIAL DEMAND
14
     THE STATE OF NEVADA ex rel. NEVADA
15   DEPARTMENT            OF    CORRECTIONS,
     WARDEN DWIGHT NEVEN, individually;
16   GARY PICCININI, ASSISTANT WARDEN,
     individually; BRYAN SHIELDS, individually;
17   OFFICER JOEL TYNNING, individually;
     OFFICER KARISSA CURRIER; OFFICER
18   JAZMINA FLANAGAN; NURSE JANE
     BALAO; NURSE BRIGIDO BAYAWA;
19   NURSE        LEILANI     FLORES;  NURSE
     ROSEMARY MCCRARY; NURSE MA LITA
20   SASTRILLO; NURSE CHRIS SHIELDS;
     DOES I through X; and ROE ENTITIES I
21   through X, inclusive,
22                              Defendants.
23
             Plaintiffs THE ESTATE OF MELODY MORGAN, BONNIE LOPEZ, individually as
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     sister and as administrator of the Estate of MELODY MORGAN, deceased, and COLLEEN
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     LACKEY, individually as mother of MELODY MORGAN, deceased, (“Morgan Family”), by
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                                       Case Number: A-20-814296-C
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 1   and through counsel of record, the law firm Clark Hill PLC, hereby complain and allege as

 2   follows:

 3                                                    I.

 4                                          INTRODUCTION

 5         1.      This action is brought by the Plaintiffs to redress violations of 42 U.S.C. § 1983

 6   and various state laws committed in the State of Nevada and perpetrated by the Defendants

 7   individually, while acting under color of state law, and/or custom or policy of certain rights

 8   secured to the Plaintiffs by the United States Constitution and the laws of the State of Nevada.

 9                                                   II.

10                                   JURISDICTION AND VENUE

11         2.      This is a civil action for damages under federal and state law brought, in part,

12   pursuant to 42 U.S.C. Section 1983 to redress the deprivation, under color of state law, of rights

13   secured by the Constitution of the United States of America.

14         3.      This Court has personal jurisdiction over all Defendants as, at all times relevant

15   hereto, they either resided or did business regularly and systematically in Clark County, Nevada,

16   and their conduct at issue occurred in Clark County, Nevada. Thus, jurisdiction and venue are

17   proper in Clark County, Nevada.

18         4.      This Complaint is timely filed within the applicable statute of limitations period.

19         5.      That this civil action arising from actions occurring within County of Clark, State
20   of Nevada, involving an amount in controversy in excess of the sum of $75,000.00, exclusive

21   of costs and interests, thereby giving this Court jurisdiction over this matter.

22         6.      Plaintiffs hereby demand a trial of their action by jury.

23                                                   III.

24                                            THE PARTIES

25          7.     Plaintiff Bonnie Lopez (“Lopez”) is the duly appointed, qualified, and acting

26   special administrator for the Estate of Melody Morgan, deceased, and is the sister of Melody

27   Morgan, who died in the manner alleged below on April 28, 2018. Plaintiff is over the age of

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 1   eighteen and is a citizen of Clark County, Nevada. Plaintiff Lopez brings this action on behalf

 2   of the estate and for the benefit of the heirs of the estate as well as in her own capacity as the

 3   sister and heir to the decedent.

 4          8.     Plaintiff Colleen Lackey (“Lackey”) is the mother of Melody Morgan as well as

 5   Bonnie Lopez. Plaintiff Lackey is over the age of eighteen and is a citizen of Nye County,

 6   Nevada. She brings this action in her own capacity as the mother and as an heir to the decedent.

 7          9.     Upon information and belief, Defendant Gary Piccinini is and was at all times

 8   relevant the Associate Warden of the Florence McClure Women’s Correctional Center and is a

 9   resident of the State of Nevada.

10          10.    Upon information and belief, Defendant Dwight Neven is and was at all times

11   relevant the Warden of the Florence McClure Women’s Correctional Center and is a resident of

12   the State of Nevada.

13          11.    Upon information and belief, Defendant Bryan Shields is and was at all times

14   relevant an Inspector and/or Officer employed by the Nevada Department of Corrections and is

15   a resident of the State of Nevada.

16          12.    Upon information and belief, Defendant Joel Tynning is and was at all times

17   relevant a Corrections Officer employed by the Nevada Department of Corrections and is a

18   resident of the State of Nevada.

19          13.    Defendant Karissa Currier is and was at all times relevant a Corrections Officer
20   employed by the Nevada Department of Corrections and is a resident of the State of Nevada.

21          14.    Defendant Jazmina Flanigan is and was at all times relevant a Corrections Officer

22   employed by the Nevada Department of Corrections and is a resident of the State of Nevada.

23          15.    Defendant Jane Balao is and was at all times relevant a nurse employed by the

24   Nevada Department of Corrections and is a resident of the State of Nevada.

25          16.    Defendant Brigado Bayawa is and was at all times relevant a nurse employed by

26   the Nevada Department of Corrections and is a resident of the State of Nevada.

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 1           17.   Defendant Leilani Flores is and was at all times relevant a nurse employed by the

 2   Nevada Department of Corrections and is a resident of the State of Nevada.

 3           18.   Defendant Rosemary McCrary is and was at all times relevant a nurse employed

 4   by the Nevada Department of Corrections and is a resident of the State of Nevada.

 5           19.   Defendant Ma Lita Sastrillo is and was at all times relevant a nurse employed by

 6   the Nevada Department of Corrections and is a resident of the State of Nevada.

 7           20.   Defendant Chris Shields is and was at all times relevant a nurse employed by the

 8   Nevada Department of Corrections and is a resident of the State of Nevada.

 9           21.   The individuals identified in paragraphs 15 through 20 are collectively the

10   “Nursing Defendants.”

11          22.    Defendant State of Nevada ex rel. Nevada Department of Corrections (“NDOC”)

12   is a division and/or department of the State of Nevada.

13           23.   Defendants are sued individually in either their personal capacities (federal

14   claims) and/or official capacity depending on the claims alleged and were acting under color of

15   state law and/or custom or policy of certain rights.

16           24.   Defendants, under color of state law, have caused the decedent to be deprived of

17   her constitutional rights.

18           25.   Defendants were the agents, servants, employers and/or employees of each other

19   and were acting within the course and scope of said relationship.
20           26.   Plaintiffs allege that each of the Defendants performed, participated in, aided

21   and/or abetted in such manner the acts averred herein, proximately caused the damages averred

22   below, and each is liable to Plaintiff for the damages and other relief sought herein.

23          27.    That the true names and capacities, whether individual, corporate, associates, co-

24   partnership, or otherwise of Defendants DOES 1 through 100 and ROE Corporations 1 through

25   100, are unknown to Plaintiffs who therefore sues said defendants by such fictitious names.

26   Plaintiffs are informed and believe and thereon alleges that each of the defendants designated as

27   DOES 1 through 100 and ROE Corporations 1 through 100 are responsible in some manner for

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 1   the events and happenings referred to in this action and proximately caused damages to Plaintiffs

 2   as herein alleged.

 3                                                  IV.

 4                                    FACTUAL ALLEGATIONS

 5           28.    The decedent Melody Morgan (“Morgan”) was born on xx/xx/1993 in California.

 6   As a child at or about the age of seven, she moved to Las Vegas, Nevada with her family.

 7           29.    Morgan was artistic and enjoyed drawing, painting, and crafts. Morgan

 8   maintained a close and loving relationship with her mother and sister.

 9           30.    Morgan suffered from Von Willebrand disease and from having an arachnoid cyst

10   in her brain. She also suffered from asthma, fibroid and/or ovarian cysts, as well as seizures and

11   migraines. She was adjudicated as disabled and, as a result, she received Social Security

12   disability benefits.

13           31.    Morgan was diagnosed with bipolar disorder, schizophrenia, and multiple

14   personality disorder. She had a history of approximately three psychiatric hospitalizations.

15           32.    Morgan also had a history of suicidal ideations and attempts to commit suicide.

16   Her first attempt to commit suicide was at the age of fourteen.

17           33.    In or about December 2012, Morgan was arrested and detained for various

18   criminal charges.

19           34.    After her arrest and while detained, Morgan was placed on suicide watch for
20   suicidal ideation. On or about December 21, 2012, she tried to commit suicide. Upon

21   information and belief, she was placed on suicide watch after her attempt to commit suicide.

22           35.    Based on a competency evaluation performed in 2013, it was determined that she

23   should be considered a suicide risk until she was clinically stabilized.

24           36.    In or about December 2013, Morgan pled guilty prior to trial and was sentenced

25   to a period of incarceration in the Nevada Department of Corrections. She was originally housed

26   at Florence McClure Women’s Correctional Center located in Las Vegas, Nevada.

27           37.    At all times relevant, Defendants were aware or should have been aware that

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 1   Morgan was at risk to commit suicide.

 2           38.   Despite her disabilities and known risk of suicide, Morgan was transferred to Jean

 3   Conservation Camp.

 4           39.   On or about April 19, 2018, Morgan walked away from Jean Conservation Camp

 5   with another inmate.

 6           40.   On or about April 23, 2018, Officer Shields contacted Plaintiff Lackey and

 7   requested her assistance in locating Morgan. When Plaintiff Lackey spoke to Officer Shields,

 8   she informed him that Morgan was highly unstable, that she has hurt herself and has attempted

 9   suicide in the past, and that Morgan would hurt herself and/or attempt to commit suicide once

10   Morgan was re-captured and returned to incarceration. Plaintiff Lackey informed Officer

11   Shields that Morgan would need to be on suicide watch and/or in the psychiatric ward once she

12   returned to incarceration.

13           41.   Officer Shields promised Plaintiff Lackey that upon locating and recapturing

14   Morgan that she would be placed on suicide watch.

15           42.   Plaintiff Lackey agreed to assist Officer Shields in locating Morgan. Plaintiff

16   Lackey informed Officer Shields that if Morgan became aware that her mother assisted in

17   locating her, then Morgan would be even more likely to hurt herself and/or commit suicide.

18           43.   Morgan contacted her mother after walking away from the camp.

19           44.   Plaintiff Lackey informed Officer Shields of Morgan’s location.
20           45.   On or about April 28, 2018, Morgan was located and arrested.

21           46.   Upon information and belief, during her arrest, Morgan was informed that her

22   mother had assisted in locating her.

23           47.   After Morgan was located and arrested, Officer Shields contacted Plaintiff

24   Lackey. She reiterated to Officer Shields that Morgan needed to be placed on suicide watch for

25   her own safety due to the high risk of her committing suicide. Officer Shields promised that

26   Morgan would be placed on suicide watch upon her return to the detention or correctional

27   facility.

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 1           48.   Officer Shields notified Defendant Currier of Plaintiff Lackey’s concern about the

 2   high risk of Morgan committing suicide.

 3           49.   Defendant Currier alleges that she notified Defendant Flanigan of Plaintiff

 4   Lackey’s concern about the high risk of Morgan committing suicide.

 5           50.   Defendant Flanigan alleges that Defendant Currier never notified her of Plaintiff

 6   Lackey’s concern about the high risk of Morgan committing suicide

 7           51.   Morgan was transported to Florence McClure Women’s Correctional Center.

 8           52.   Defendants Officer Shields, Neven, Piccinini, Currier and Flanigan failed to

 9   adequately communicate to Florence McClure Women’s Correctional Center staff and/or

10   officers that Morgan was at risk of committing suicide and failed to sufficiently instruct staff

11   and/or officers to supervise Morgan under proper suicide prevention policies and protocols.

12           53.   Upon her return to Florence McClure Women’s Correction Center, no Receiving

13   Screening/Intake Screening was conducted by nursing staff to determine Morgan’s urgent,

14   emergent, and/or ongoing healthcare needs, including the critical issue of identifying suicide

15   risk.

16           54.   Nurses Flores and Sastrillo admitted during the post-investigative process that

17   they had not read, reviewed, nor implemented1 Medical Directive #135 Receiving Screening,

18   which requires all inmates to be assessed by nursing staff at Intake to determine their medical

19   needs. See Affidavit of Merit by Kimberly M. Pearson, MHA, MBA, RN, CCHP attached
20   hereto as Exhibit 1.

21           55.   Nurse Flores, the Director of Nursing, referred to herself as a “newbie’ in spite of

22   being employed by the prison for over two years. Nurse Sastrillo, the Nursing Supervisor, had

23   worked in other state correctional institutions where the Receiving Screenings were routinely

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27    Pursuant to the Stipulated Protective Order, this information has been deemed Confidential
     pursuant to NAC 284.718(8) and therefore has been redacted.
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 1   completed, but stated “I’m so complacent with my staff because they’ve been working there

 2   almost ten years, and I did not read this medical directive at all.”2

 3          56.    Within 48 hours of her return to the correctional center, Defendants left Morgan

 4   alone in her cell without adequate supervision. She was discovered unresponsive hanging in her

 5   cell during a normally scheduled routine check by a corrections officer.

 6          57.    Upon information and belief, Defendant Tynning knew or should have known that

 7   Morgan was at a high risk of committing suicide and failed to adequately supervise Morgan

 8   while she was in custody by leaving her alone in her cell and by providing her access to materials

 9   that allowed her to commit suicide.

10          58.    Morgan strangled herself by tying a bedsheet around her neck and to the upper

11   portion of the bunk bed.

12          59.    The emergency response that followed when Morgan was found to be hanging in

13   her cell revealed a delay in access to care and insufficient resuscitative efforts. Officers (with

14   keys to the cell) did not “cut down” Morgan from the bunk with a cut down tool (or similar tool)

15   and did not initiate CPR (cardiopulmonary resuscitation.) They waited until the medical team

16   arrived; then opened the cell door; and nursing staff used bandage scissors to cut the sheet and

17   lower Ms. Morgan to the floor in order to initiate resuscitative efforts.

18          60.    And, while CPR compressions and the use of an AED (automatic external

19   defibrillator) were initiated, compressions were at times ineffective, but moreover, there was no
20   appropriate positioning and opening of the airway nor the administration of breaths as required

21   by Basic Life Support algorithms until approximately six (6) minutes into the resuscitative

22   process - in part due to the lack of appropriate and necessary equipment (oxygen mask) and lack

23   of appropriate utilization of the equipment (hook up to oxygen tank). Morgan was without

24   oxygenation for well over six minutes.

25          61.    Emergency medical services arrived and Morgan was transported to University

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      Pursuant to the Stipulated Protective Order, this information has been deemed Confidential
     pursuant to NAC 284.718(8) and therefore has been redacted.
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 1   Medical Center. The North Las Vegas Fire Department records reveal that upon arrival to the

 2   prison, they were delayed in obtaining initial access to Morgan because of being held in the

 3   Sally Port upon arrival. It was also documented that they were again delayed in transporting

 4   Morgan to the hospital because “the ambulance was held in the Sally Port for several minutes

 5   while prison personnel traded out personnel and checked the ambulance several times.”

 6           62.    All life-saving measures failed and Morgan was pronounced dead on April 28,

 7   2018.

 8           63.    While at the hospital, Defendant Piccinini stated to Plaintiff Lackey that Morgan

 9   was only left alone for a couple minutes.

10           64.    Despite knowledge and notice of Morgan’s mental health history and that Morgan

11   was at risk to commit suicide, Defendants failed to place Morgan on suicide watch and failed to

12   carefully monitor her. Defendants failed to take preventative measures to ensure Plaintiff’s

13   safety by providing her with a bed sheet and/or blanket.

14           65.   Defendant Nevada Department of Corrections failed to implement and/or follow

15   adequate suicide prevention policies and/or protocols and to train its officers and/or employees

16   on their responsibilities to ensure inmate’s health and safety to known risks and attempts of

17   suicide.

18           66.   Defendant Nevada Department of Corrections failed to provide access to timely

19   emergency care as the responding fire department was delayed getting into and out of the
20   facility.

21           67.   Nursing Defendants failed to follow and implement established policies set forth

22   to identify patient healthcare needs and risks and they failed to train and supervise staff.

23           68.   Defendant Nevada Department of Corrections and/or Nursing Defendants failed

24   to provide and have necessary emergency equipment available in the instance of a suicide.

25           69.   Defendant NDOC is vicariously liable for the torts of their employees under the

26   doctrine of respondeat superior.

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 1         70.     Defendants failed to implement and or follow adequate suicide prevention

 2   procedures.

 3         71.     As a direct and proximate result of Defendants’ deliberate indifference, Plaintiffs

 4   Lackey and Lopez were deprived of their daughter and sister’s care, comfort, love, protection,

 5   advice, society, and physical assistance in addition to expectations of support, maintenance and

 6   other pecuniary benefits.

 7                                                   V.

 8                                       CAUSES OF ACTION

 9                                    FIRST CAUSE OF ACTION

10     42 U.S.C. § 1983 - EIGHTH AMENDMENT - DELIBERATE INDIFFERENCE TO

11                                    SERIOUS MEDICAL NEED

12   PLAINTIFF ESTATE AGAINST ALL DEFENDANTS EXCEPT DEFENDANT NDOC

13          72.    Plaintiff re-allege and incorporate the allegations set forth above as though fully

14   alleged herein.

15          73.     Suicide is clearly a serious medical need, and prison officials can violate the

16   Eighth Amendment of the United States Constitution when they ignore an inmate’s suicide risk.

17          74.    Various district courts in the Ninth Circuit have held that the Eighth Amendment

18   requires “a basic program to identify, treat, and supervise inmates at risk for suicide.”

19          75.    Defendants knew of Morgan’s vulnerability to suicide because she had a history
20   of previous failed suicide attempts while in custody and because Morgan’s mother informed

21   Officer Shields that Morgan was suicidal. Morgan’s mother repeatedly provided notice to

22   Defendants via Officer Shields that Morgan was at risk of committing suicide and complied

23   with Officer Shield’s requests for assistance based on his representation that Morgan would be

24   placed under proper supervision and suicide prevention protocols. Defendants were required to

25   take adequate measures in response to Morgan’s known suicide risk. At a minimum, Defendants

26   should have informed Florence McClure Women’s Correctional Center staff that Morgan was

27   suicidal, should have adequately supervised Morgan while she was in custody, should have

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 1   implemented and followed adequate suicide prevention policies and protocols, and/or should

 2   have ensured that Morgan did not have access to materials to assist in attempting to commit

 3   suicide.

 4          76.     Defendants disregarded Morgan’s known risk of suicide.

 5          77.     Defendants Officer Shields, Neven, Piccinini, Currier and Flanigan failed to

 6   communicate to Florence McClure Women’s Correctional Center staff that Morgan was at risk

 7   of committing suicide and failed to sufficiently instruct staff and/or officers to supervise Morgan

 8   under adequate suicide prevention policies and protocols.

 9          78.     Upon information and belief, Defendant Tynning knew or should have known

10   that Morgan was at a high risk of committing suicide and failed to adequately supervise Morgan

11   while she was in custody by leaving her alone in her cell and by providing her access to materials

12   that allowed her to commit suicide.

13         79.     The Defendants made an intentional decision to place Morgan in a cell

14   unsupervised and/or with sheets and/or blankets while they knew or should have known that

15   Morgan was suicidal.

16          80.    Those conditions put Morgan not only at a substantial risk of suffering serious

17   harm, but Morgan did in fact suffer serious harm.

18          81.     The Defendants did not take reasonable available measures to abate the risk,

19   including but not limited to: advising staff members/officers that Morgan was suicidal, removing
20   all materials from Morgan’s cell that could be used to harm herself, additional supervision, more

21   frequent supervision, placing Morgan in the infirmary, placing Morgan with a cellmate and/or

22   any other suicidal prevention protocols that were utilized or should have been utilized by the

23   Florence facility. A reasonable officer in the circumstances would have appreciated the high

24   degree of risk involved making the consequence of the Defendants’ conduct more obvious.

25          82.     By the Defendants not taking such measures, the defendants were deliberately

26   indifferent causing Morgan’s death.

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 1          83.    Further, the Nursing Defendants failed to communicate pertinent patient health

 2   care information, failed to follow and implement established policies set forth to identify patient

 3   healthcare needs and risks, failed to supervise and train staff, failed to provide access to timely

 4   emergency care, failed to provide and have necessary emergency equipment available, failed to

 5   properly initiate and apply CPR compressions and failed to properly use the automatic external

 6   defibrillator, and otherwise failed to protect Morgan, in that no suicide risk assessment nor

 7   associated precautions were completed.

 8         84.     In addition, NDOC staff failed to provide access to timely emergency care as the

 9   responding fire department was delayed into and out of the facility to treat and transport Morgan.

10         85.     The Eighth Amendment of the United States Constitution entitles prisoners to

11   medical care and a prison official violates the Amendment when he or she acts with deliberate

12   indifference to an inmates’ serious medical needs.

13         86.     After Morgan was found hanging in her cell, Defendants Tynning, Currier and the

14   Nursing Defendants were deliberately indifferent to Morgan’s serious medical needs by

15   delaying and/or denying her treatment for her injuries caused by the Defendants’ prior deliberate

16   indifference to Morgan in allowing Morgan to commit suicide.

17         87.     Morgan’s medical needs were serious. The failure to treat Morgan’s medical

18   needs caused her unnecessary and wanton infliction of pain and ultimately death.

19         88.     Even though Morgan was dying, and Defendant Tynning and Nursing Defendants
20   had actual knowledge of her worsening condition, Defendant Tynning and the NDOC nursing

21   staff refused to either provide or seek timely medical care thereby disregarding an excessive risk

22   to Morgan’s health.

23         89.     As a direct and proximate result of the aforementioned unlawful and deliberately

24   indifferent conduct by Defendants committed under the color of law and under each individual’s

25   authority as employees of the Nevada Department of Corrections, Morgan was deprived of her

26   right to be free from deliberate indifference to her serious medical needs in violation of the

27   Eighth Amendment to the United States Constitution.

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 1         90.     As a direct and proximate result of the unlawful conduct of the Defendants,

 2   Morgan suffered injuries and damages, including death, excruciating pain, and extreme mental

 3   and emotional injuries. Further, the Plaintiff Estate suffered damages and are entitled to

 4   compensation for loss of enjoyment of life, mental, physical and emotional pain and suffering,

 5   and other related costs and which with reasonable probability will be experienced and/or

 6   required in the future, including but not limited to attorneys’ fees and costs and pre- and post-

 7   judgment interest, in excess of Seventy-Five Thousand Dollars ($75,000.00).

 8         91.     The wrong and unlawful acts perpetrated by Defendants, in intentionally

 9   disregarding the constitutional rights of Morgan were willful, oppressive, malicious, and with

10   wanton disregard for the established rights of the Morgan, thereby justifying the awarding of

11   punitive damages in an amount to be determined at time of trial.

12                                  SECOND CAUSE OF ACTION

13                              LOSS OF FAMILIAL ASSOCIATION

14    42 U.S.C. § 1983 - FOURTEENTH AMENDMENT—SUBSTANTIVE DUE PROCESS

15   PLAINTIFF LACKEY AGAINST ALL DEFENDANTS EXCEPT DEFENDANT NDOC

16       92.       Plaintiff Lackey re-alleges and incorporates the allegations set forth above as

17   though fully alleged herein.

18       93.       Morgan was the daughter of Plaintiff Lackey.

19       94.       Plaintiff Lackey has a liberty interest in her companionship with her child.
20       95.       As a result of the Defendants having time to deliberate before failing to act in

21   either protecting Morgan from committing suicide and/or failing to provide medical care in a

22   timely manner, their actions shocked the conscience when they were deliberately indifferent. As

23   a direct and proximate result of the unlawful conduct of the Defendants,

24        96.      The wrong and unlawful acts perpetrated by the Defendants, in intentionally

25   disregarding the constitutional rights of Plaintiff Lackey was willful, oppressive, malicious, and

26   with wanton disregard for the established rights of the Plaintiff Lackey thereby justifying the

27   awarding of punitive damages in an amount to be determined at time of trial.

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 1   Plaintiff Lackey suffered damages and is entitled to compensation for loss of enjoyment of life,

 2   mental, physical and emotional pain and suffering, and other related costs and which with

 3   reasonable probability will be experienced and/or required in the future, including but not

 4   limited to attorneys’ fees and costs and pre- and post-judgment interest, in excess of Seventy-

 5   Five Thousand Dollars ($75,000.00).

 6          97.     The wrong and unlawful acts perpetrated by the Defendants, in intentionally

 7   disregarding the constitutional rights of Plaintiff Lackey was willful, oppressive, malicious, and

 8   with wanton disregard for the established rights of the Plaintiff Lackey thereby justifying the

 9   awarding of punitive damages in an amount to be determined at time of trial.

10                                    THIRD CAUSE OF ACTION

11                                             NEGLIGENCE

12                                  AGAINST ALL DEFENDANTS

13           98.     Plaintiffs re-allege and incorporate the allegations set forth above as though fully

14   set forth herein.

15           99.     Defendants had a duty to prevent foreseeable risks of harm, such as the risk that

16   Morgan would inflict self-harm or commit suicide. Defendants knew or should have known that

17   Morgan had a high risk of committing suicide because of her previous failed attempts to commit

18   suicide while in custody and because Morgan’s mother provided notice of Morgan’s propensity

19   to commit suicide to Defendants. Defendants breached the duty of care by failing to adequately
20   communicate that Morgan was at high risk of committing suicide and/or to instruct Florence

21   McClure Women’s Correctional Center staff to implement and follow adequate suicide

22   prevention policies and protocols and/or by failing to adequately monitor Morgan’s actions after

23   being informed or otherwise learning that Morgan was suicidal. Defendants failed to implement

24   adequate protocols or training and/or failed to follow their existing protocols. Defendants failed

25   to keep Morgan under constant surveillance. Defendants allowed a known suicide risk inmate

26   to be alone in a cell with a bed sheet.

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 1           100.        Further, Nursing Defendants breached the duty of care by failing to

 2   communicate pertinent patient health care information, failing to follow and implement

 3   established policies set forth to identify patient healthcare needs and risks, failing to supervise

 4   and train staff, failed to provide access to timely emergency care, failing to provide and have

 5   necessary emergency equipment available, and failing to protect Morgan, in that no suicide risk

 6   assessment nor associated precautions were completed.

 7           101.    Defendants’ breach caused Morgan to commit suicide resulting in her death.

 8           102.    As the direct and proximate result of Defendant’s acts and/or omissions,

 9   Plaintiffs suffered general and special damages in excess of seventy-five thousand dollars

10   ($75,000.00).

11           103.    As a direct and proximate result of Defendants’ acts and/or omissions, Plaintiffs

12   have been required to retain the services of an attorney to prosecute this claim and is entitled to

13   be compensated for any costs incurred in the prosecution of this action, including without

14   limitation, any and all costs and attorney’s fees.

15                                  FOURTH CAUSE OF ACTION

16                                        WRONGFUL DEATH

17                                  AGAINST ALL DEFENDANTS

18           104.    Plaintiffs re-allege and incorporate the allegations set forth above as though fully

19   set forth herein.
20           105.    Defendants had a duty to prevent foreseeable harm and to provide reasonable

21   care in monitoring and supervising Morgan.

22           106.    Defendants breached their duties when they failed to exercise that degree of care

23   alleged herein, and specifically failed in those duties as alleged herein.

24           107.        As a direct and proximate result of Defendants’ negligence, Morgan

25   experienced great pain and suffering and ultimately died as a further result of Defendants’

26   negligence.

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 1           108.        As a direct and proximate result of Defendants’ actions or omissions described

 2   above, Morgan suffered fatal injuries and died for which her heirs are entitled to recovery

 3   allowed and set forth in NRS 41.085, including all applicable statutes.

 4           109.        As a direct and proximate result of Defendants’ negligence, Plaintiffs incurred

 5   medical expenses and burial expenses; the full nature and extent of said expenses are not known

 6   to Plaintiffs and leave is requested to amend this complaint to conform to proof at time of trial.

 7           110.    As a direct and proximate result of Defendants’ acts and/or omissions, Plaintiffs

 8   have been required to retain the services of an attorney to prosecute this claim and is entitled to

 9   be compensated for any costs incurred in the prosecution of this action, including without

10   limitation, any and all costs and attorney’s fees.

11                                      FIFTH CAUSE OF ACTION

12                                         GROSS NEGLIGENCE

13                                    AGAINST ALL DEFENDANTS

14           111.    Plaintiffs re-allege and incorporate the allegations set forth above as though fully

15   set forth herein.

16           112.    Defendants owed Morgan a duty to use the care and skill ordinarily exercised in

17   the operation of like facilities to observe, screen, report, monitor, and provide reasonable

18   security regarding Morgan’s condition.

19           113.    Defendants acted with gross indifference and/or with a conscious disregard for
20   the safety and life of Morgan at all times while Morgan was in custody on or about April 28,

21   2018, and as a direct and proximate result of Defendants’ gross negligence, Morgan ultimately

22   died.

23           114.        As a direct and proximate result of the conduct of Defendants describe

24   hereinabove, Plaintiffs have sustained damages in excess of seventy -five thousand dollars

25   ($75,000.00)

26           115.    Defendants’ actions were willful, oppressive, and malicious, thereby justifying

27   punitive and exemplary damages in an amount to be determined at trial.

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 1          116.     As a direct and proximate result of Defendants’ acts and/or omissions, Plaintiffs

 2   have been required to retain the services of an attorney to prosecute this claim and is entitled to

 3   be compensated for any costs incurred in the prosecution of this action, including without

 4   limitation, any and all costs and attorney’s fees.

 5                                      SIXTH CAUSE OF ACTION

 6                             NEGLECT OF VULNERABLE PERSON

 7                                  AGAINST ALL DEFENDANTS

 8          117.     Plaintiffs repeat and re-allege each and every allegation contained in the

 9   preceding paragraphs of this Complaint as though fully set forth herein.

10          118.     NRS 41.1395 provides for damages for injuries suffered by vulnerable persons

11   as a result of abuse or neglect.

12          119.     Vulnerable person includes a person who has a physical or mental impairment

13   that substantially limits one or more of the major life activities and/or has a medical or

14   psychological record of the impairment.

15          120.     Morgan is in the class of persons NRS 41.1395 was designed to protect.

16          121.     Defendants violated NRS 41.1395 by injury to Morgan by way of neglect, as

17   prohibited and defined by NRS 41.1395.

18          122.     As a direct and proximate result of the neglect defined by NRS 41.1395,

19   Plaintiffs are entitled to an award which is two (2) times the actual damages set forth by NRS
20   41.1395.

21          123.     As a direct and proximate result of the negligence as defined by NRS 41.1395,

22   the Plaintiffs are entitled to an award of attorney’s fees and costs, as set forth and defined by

23   NRS 41.1395.

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 1                                      SEVENTH CAUSE OF ACTION

 2
                     NEGLIGENT HIRING, TRAINING, SUPERVISION AGAINST
 3
                 DEFENDANTS NDOC AND NURSES FLORES, AND SASTRILLO
 4
            124.       Plaintiffs re-allege and incorporate the allegations set forth above as though fully
 5
     set forth herein.
 6
          125.        Defendant NDOC owed a duty as an employer to adequately investigate prior to
 7
     hiring, to properly train, and adequately supervise their employees, servants, ostensible agents,
 8
     and/or associates in the performance of their job duties and professional responsibility.
 9
          126.        Defendant NDOC knew or should have known of the incompetence, ineptitude,
10
     and/or dangerous propensities of its employees, servants, ostensible agents, partners, and/or
11
     associates.
12
          127.       Defendant NDOC breached its duty by failing to adequately investigate the
13
     backgrounds of, to adequately supervise NDOC employees, servants, ostensible agents, partners
14
     and/or associates.
15
          128.       Specifically, Defendant NDOC breached its duty by failing to provide prompt
16
     and competent access and delivery of mental health attention and suicide prevention when
17
     inmates, such as Morgan, were having a mental health crisis requiring prompt and adequate
18
     intervention.
19
          129.       Defendant NDOC additionally breached its duty by:
20
                     a. Failing to provide appropriate and competent staff to safely monitor and
21
                          observe like Morgan, who suffers from mental disabilities and/or are at risk of
22
                          committing suicide and/or self-harm;
23
                     b. Failing to implement and/or enforce policies and procedures regarding suicide
24
                          prevention;
25

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 1                    c. Failing to provide access and delivery of mental health and medical care and

 2                        treatment for inmates with known mental disabilities and/or propensities for

 3                        self-harm;

 4                    d. Failing to provide adequate housing and properly classifying inmates to ensure

 5                        access and delivery of mental and/or medical care and suicide prevention;

 6                    e. Failing to provide adequate and reasonable monitoring and housing for

 7                        inmates that present a risk of suicide to prevent mental health disasters such

 8                        as suicide attempts; and

 9                    f. Failing to supervise their subordinates and/or staff were implementing and

10                        complying with implementing policies and procedures to ensure the

11                        reasonable security and safety of inmates.

12          130.      Nurses Flores, and Sastrillo breached their duties by failing to read, review and

13   implement Medical Directive No. 135, Receiving Screening, which requires all inmates to be

14   assessed at Intake to determine their medical needs. Nurses Flores and Sastrillo admitted to

15   said failures.

16          131.      Nurses Flores and Sastrillo further breached their duties by failing to properly train

17   the nursing staff on CPR compressions and the use of an automatic external defibrillator.

18          132.      As a direct and proximate cause of Defendant’s negligent hiring, training, and

19   supervision, Plaintiffs suffered general and special damages in excess of seventy-five thousand
20   dollars ($75,000.00).

21          133.      As a direct and proximate result of Defendant’s acts and/or omissions, Plaintiffs

22   have been required to retain the services of an attorney to prosecute this claim and is entitled to

23   be compensated for any costs incurred in the prosecution of this action, including without

24   limitation, any and all costs and attorney’s fees.

25   ///

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 1                                    EIGHTH CAUSE OF ACTION

 2
                                      PROFESSIONAL NEGLIGENCE
 3
                         AGAINST DEFENDANT NURSING DEFENDANTS
 4
             134.    Plaintiffs repeat and re-allege each and every allegation contained in the
 5
     preceding paragraphs of this Complaint as though fully set forth herein.
 6
             135. Upon Morgan’s readmission to Florence McClure Women’s Correctional Center,
 7
     the nursing staff assumed responsibility for Morgan’s medical care and had a duty to use such
 8
     skill, prudence and diligence as other similarly situated nurses in and assessing and providing
 9
     medical care to Morgan.
10
            136.     Morgan was dependent on the Florence McClure Women’s Correctional Center’s
11
     nursing staff for her medical care.
12
           137.     Despite Florence McClure Women’s Correctional Center’s nursing staff
13
     knowledge of Morgan’s dependence on them for medical care, they failed to provide adequate
14
     medical to her, as alleged above.
15
            138.     The Nursing Defendants failed to meet the applicable standard of care in their
16
     provision of medical to Morgan, including, but not limited to, by: (1) failing to communicate
17
     pertinent patient healthcare information; (2) failing to follow and implement established policies
18
     set forth to identify patient healthcare needs and risks; (3) failing to supervise and train staff; (4)
19
     failing to properly administer CPR compressions and to properly use the automatic external
20
     defibrillator; (5) failing to provide and have necessary emergency medical equipment; and (6)
21
     failing to protect Morgan, in that no medical or suicide risk assessment was performed upon her
22
     return Intake at the facility.
23
            139.     The Nursing Defendants’ medical care of Morgan fell below the standard of care
24
     and was a proximate caused of her injuries and damages, including by contributing to her death.
25
     See Exhibit 1
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 1        140.     Morgan’s injuries and death were therefore the result of the Nursing Defendants’

 2   negligence.

 3        141.     The damages and injuries directly and proximately caused by the Nursing

 4   Defendants’ negligence was permanent.

 5        142.     As a direct and proximate result of the Nursing Defendants’ negligence and

 6   Morgan’s death, Lackey and Lopez incurred damages of grief, sorrow, loss of companionship,

 7   society, comfort, and consortium, and damages for pain and suffering, and mental anguish.

 8        143.     The damages and injuries directly and proximately caused by the Nursing

 9   Defendants’ negligence were permanent, including future pain and suffering, loss of

10   companionship, and mental anguish from Morgan’s untimely death.

11        144.     Plaintiffs’ past and future damages exceed $75,000.

12          WHEREFORE, Plaintiffs pray for relief as follows:

13         1.      For general damages in an amount in excess of $75,000.00;

14         2.      For special damages in an amount in excess of $75,000.00;

15         3.      For punitive damages in an amount deemed appropriate to punish Defendants (in

16                 their personal capacity for their wrongful and egregious conduct;

17         4.      For reasonable attorney’s fees and costs of suit incurred herein;

18         5.      For pre-judgment and post-judgment interest on all sums according to law; and

19         6.      For such other and further relief as this Court deems just and proper.
20          DATED this 27th day of April, 2021.

21                                                       CLARK HILL PLLC

22
                                                           /s/ Paola M. Armeni, Esq.
23                                                       PAOLA M. ARMENI
                                                         Nevada Bar No. 8537
24                                                       JEREMY J. THOMPSON
                                                         Nevada Bar No. 12503
25                                                       CLARK HILL PLLC
                                                         3800 Howard Hughes Parkway, Suite 500
26                                                       Las Vegas, Nevada 89169
                                                         Attorneys for Plaintiffs, Morgan Family
27

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                                                    21
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               EXHIBIT 1
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